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   Harbor Freight Tools USA, Inc.
 6
                            UNTITED STATES DISTRICT COURT
 7

 8                                    DISTRICT OF NEVADA
 9
     RANDY BENSON, an individual,                  Case No.   2:21-cv-01091-JAD-VCF
10

11                      Plaintiff,                 STIPULATION AND [PROPOSED]
12 v.                                              ORDER TO ALLOW DEFENDANT
                                                   HARBOR FREIGHT TOOLS USA, INC
13 HARBOR FREIGHT TOOLS USA, INC., a               LEAVE TO FILE AMENDED
                                                   ANSWER TO COMPLAINT
14 Foreign Corporation; DOE EMPLOYEEES I
   through X; DOE DESIGNERS I through X,
15 inclusive; DOE MANUFACTURERS I
   through X, inclusive; DOE DISTRIBUTORS I
16 through X, inclusive; DOE SELLERS I
   through X, inclusive; DOES I through X,
17 inclusive; and ROE LEGAL ENTITIES I

18 through X, inclusive,

19                      Defendants.
20         IT IS HEREBY STIPULATED, by and between plaintiff and defendant pursuant to
21 Fed. R. Civ. P., 15(a)(2), and LR 7-1 that defendant Harbor Freight Tools USA, Inc. (“HFT”)

22 is granted leave to file its First Amended Answer to plaintiff’s Complaint. Defendant will

23 file its First Amended Answer within five (5) days of the Court’s Order granting this

24 stipulation and the First Amended Answer will supersede HFT’s original answer and

25 become the operative answer to plaintiff’s complaint.

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28 / / /
     Case 2:21-cv-01091-JAD-VCF Document 10 Filed 09/29/21 Page 2 of 2




 1   Dated: September 29, 2021                      Dated: September 29, 2021

 2   CLEAR COUNSEL LAW GROUP                        CLYDE & CO LLP

 3

 4     /s/ Dustin E. Birch                            /s/ Dylan P. Todd
     Jared R. Richards, Esq.                        Dylan P. Todd, Esq.
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 6   Henderson, Nevada 89128
                                                    Attorneys for Defendant
 7   Attorneys for Plaintiff                        Harbor Freight Tools USA, Inc.
     Randy Benson
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11         IT IS SO ORDERED.

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14 Dated: September 29, 2021

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16                                       By:

17                                             Cam Ferenbach
                                               United States Magistrate Judge
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